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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

COMMONWEALTH OF PENNSYLVANIA                 )
et al.​ ,                                    )             Civil Action No. 1:20-cv-01468-CJN
                                             )
       Plaintiffs,                           )
                                             )
v.                                           )
                                             )
ELISABETH D. DEVOS, in her official          )
capacity as Secretary of Education ​et al​., )
                                             )
       Defendants.                           )
__________________________________________)

                     DEFENDANTS’ RESPONSE TO INTERVENORS’
                     MOTION FOR LEAVE TO TAKE DEPOSITIONS

       Intervenors have moved for leave to take the depositions of six individuals who

submitted declarations in support of Plaintiffs’ pending motion for a preliminary injunction, prior

to the scheduled July 24, 2020 preliminary injunction hearing. Defendants have previously

submitted that they do not believe that a hearing on Plaintiffs’ preliminary injunction motion is

necessary. ​See​ Joint Status Report at 5, ECF No. 29. And because the parties’ submissions to

date make abundantly clear that Plaintiffs are not entitled to preliminary relief (or any other

relief), Defendants do not believe that depositions—or any other discovery—are necessary in

this case’s current procedural posture. Moreover, Defendants do not wish to risk undue delay of

the Court’s resolution of Plaintiffs’ motion. Defendants therefore respectfully suggest that the

Court deny Intervenors’ discovery motion, proceed with the scheduled July 24 oral argument,

and deny Plaintiffs’ preliminary injunction motion as soon as possible thereafter.

       In addition to the fact that Intervenors’ motion risks unnecessarily delaying the resolution

of these proceedings, it rests upon a mistaken view of the future proceedings that are likely in


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this case. ​See​ Mot. at 2 (suggesting that discovery in this case is “not that far away”). Plaintiffs

assert claims exclusively under the Administrative Procedure Act, 5 U.S.C. § 551 ​et seq​. It is

well established that absent extraordinary circumstances not present here, judicial review of such

claims is undertaken on the basis of the administrative record compiled by the agency. ​See

Florida Power & Light v. Lorion​, 470 U.S. 729, 743-44 (1985); ​Theodore Roosevelt

Conservation P’ship v. Salazar​, 616 F.3d 497, 514 (D.C. Cir. 2010). Therefore, following the

preliminary-injunction phase, extra-record discovery in this case will be neither appropriate nor

necessary.

Dated: July 20, 2020                            Respectfully submitted,


                                                ETHAN P. DAVIS
                                                Acting Assistant Attorney General

                                                DAVID M. MORRELL
                                                Deputy Assistant Attorney General

                                                CARLOTTA P. WELLS
                                                Assistant Branch Director

                                                  /s/ Daniel Riess
                                                DANIEL RIESS (Texas Bar No. 24037359)
                                                Trial Attorney
                                                United States Department of Justice
                                                Civil Division, Federal Programs Branch
                                                1100 L Street, N.W.
                                                Washington, D.C. 20005
                                                Tel: (202) 353-3098
                                                Fax: (202) 616-8460
                                                Daniel.Riess@usdoj.gov
                                                Attorneys for Defendants




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